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 1                            UNITED STATES DISTRICT COURT
 2                                     DISTRICT OF NEVADA
 3
      UNITED STATES OF AMERICA,                     )   2:10-cr-284-RLH-PAL-4
 4                                                  )
                      Plaintiff,                    )
 5                                                  )
                      vs.                           )    ORDER
 6                                                  )
      PATRICIA BASCOM,                              )
 7                                                  )
                      Defendant.                    )
 8                                                  )

 9            On January 22, 2012, the government moved the Court to expedite briefing/shorten the

10    time for briefing the government’s motion to strike [docket #164] defendant’s motion to withdraw

11    plea and defendant’s affidavit in support of that motion. Having considered the government’s

12    motion and any response thereto, and for good cause shown, it is

13            HEREBY ORDERED that the government’s motion is GRANTED. It is

14            FURTHER ORDERED that defendant shall file any response to the government’s motion

15    to strike [docket #164] no later than 5 p.m. PST on January 26, 2012. It is

16            FURTHERED ORDERED that the government shall file a reply in support of its motion,

17    if any, no later than 5 p.m. PST on January 31, 2012.
                                       January 2012.
                          23rd day of _________,
              DATED this ______
18

19                                               SO ORDERED.

20

21

22                                               UNITED
                                                 UNIT
                                                    TED
                                                      DSSTATES
                                                         TATES DISTRICT JUDGE

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